    Case 21-01776-LT7                Filed 11/16/21            Entered 11/18/21 21:09:12          Doc 145        Pg. 1 of 6


CSD 2062 [05/19/17]
Court Telephone: (619) 557-5620 Court Hours: 9:00 am ± 4:00pm, Monday-Friday
www.casb.uscourts.gov
Leonard J. Ackerman, Chapter 7 Trustee, #171073
6977 Navajo Road, #124
San Diego, CA 92119
(619) 463-0555

             UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
             325 West F Street, San Diego, California 92101-6991

In Re

HYPERIKON, INC.
                                                                               BANKRUPTCY NO. 21-01776-LT7
                                                               Debtor.



                         75867((¶6127,&(2),17(1'('$&7,21$1'23385781,7<)25+($5,1*

TO THE DEBTOR, ALL CREDITORS, AND OTHER PARTIES IN INTEREST:

         You are hereby notified that the undersigned Trustee proposes to:


          Compromise or settle the following controversy [description of controversy to be settled and standards for approval of a
          settlement as required by LBR 9019]; or


          Allowance of compensation or reimbursement of expenses by trustee in the amounts indicated below [information
          required by FRBP 2002(c)(2)]; or
                   Fees:
                   Costs:



X        Other:
         Allow Trustee to immediately pay the United States Small Business Administration (USSBA) pursuant to its secured claim
         (claim #13). Trustee has collected funds which he believes are secured by the USSBA claim, and seeks to avoid un-necessary
         administrative expenses such as interest and bank charges by paying the U.S.S.B.A. claim in full. Claim is approximately
         $160,000 including interest charges.




IF YOU OBJECT TO THE PROPOSED ACTION:

    1.   You are required to obtain a hearing date and time from the appropriate Courtroom Deputy for the Judge assigned to this
         bankruptcy case. Determine which deputy to call by looking at the Bankruptcy Case No. in the caption on Page 1 of this notice.
         If the case number is followed by the letters:

                  -    MM           -                  call (619) 557-7407          -     DEPARTMENT ONE (Room 218)
                  -    LA           -                  call (619) 557-6594          -     DEPARTMENT TWO (Room 118)
                  -    LT           -                  call (619) 557-6018          -     DEPARTMENT THREE (Room 129)
                  -    CL           -                  call (619) 557-6019          -     DEPARTMENT FIVE (Room 318)


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CSD 2062 (Page 2) [05/19/17]
    2.    Within twenty-one (21)1 days from the date of this notice, you are further required to serve a copy of your Declaration in
          Opposition and separate Request and Notice of Hearing [Local Form CSD 11842] upon the undersigned Trustee, together
          with any opposing papers. A copy of these documents must also be served upon the United States Trustee at 880 Front
          Street, Suite 3230, San Diego, CA 92101. The opposing declaration must be signed and verified in the manner prescribed by
          FRBP 9011, and the declaration must:

                       a.      identify the interest of the opposing party; and

                       b.       state, with particularity, the factual and legal grounds for the opposition

    3.    You must file the original and one copy of the Declaration and Request and Notice of Hearing with proof of service with the
          Clerk of the U.S. Bankruptcy Court at 325 West F Street, San Diego, California 92101-6991, no later than the next business
          day following the date of service.

         ,I\RXIDLOWRVHUYH\RXU³'HFODUDWLRQLQ2SSRVLWLRQWR,QWHQGHG$FWLRQ´DQG³5HTXHVWDQG1RWLFHRI+HDULQJ´ within
the 21-day period provided by this notice, no hearing will take place, you will lose your opportunity for hearing, and the Trustee may
proceed to take the intended action.


Dated: November 15, 2021                                              /s/ Leonard J. Ackerman
                                                                      Chapter 7 Trustee
                                                                      Address:       6977 Navajo Road, #124
                                                                                     San Diego, CA 92119
                                                                      Phone No: (619) 463-0555
                                                                      Email:         ljabkatty@gmail.com




1 Depending  on how you were served, you may have additional time for response. See FRBP 9006.
2 You   may obtain Local Form CSD 1184 from the office of the Clerk of the U.S. Bankruptcy Court.
CSD 2062
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                                                              United States Bankruptcy Court
                                                              Southern District of California
In re:                                                                                                                 Case No. 21-01776-LT
Hyperikon, Inc.                                                                                                        Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0974-3                                                  User: Admin.                                                                Page 1 of 4
Date Rcvd: Nov 16, 2021                                               Form ID: pdf905                                                           Total Noticed: 88
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 18, 2021:
Recip ID                 Recipient Name and Address
db                     + Hyperikon, Inc., 8821 Production Ave., San Diego, CA 92121-2219
cr                     + Oracle America, Inc., Buchalter, A Professional Corporation, Shawn M. Christianson, 55 Second St., Ste. 1700, San Francisco, CA
                         94105-3493
14865183               + Becknell Investors 2011 LLC, 2750 East 146th Street, #200, Carmel, IN 46033-7236
14877514               + Bolt, 77 Geary St, San Francisco, CA 94108-5723
14865184               + Braumiller Law Group, 5220 Spring Valley Road, Suite, Dallas, TX 75254-3099
14894649               + Braumiller Law Group, PLLC, 5220 Spring Valley Road, Suite 200, Dallas, TX 75254-1943
14865185               + Butterfield Schechter LLP, 10021 Willow Creek Road, #200, San Diego, CA 92131-1670
14865188                 CT Corporation, Zuidpoolsingel 2408 ZE Alphen, and Rijn NETHERLANDS
14878470               + Charles S. Stahl, Jr., Swanson, Martin & Bell, LLP, 2525 Cabot Drive, Suite 204, Lisle, IL 60532-3628
14865186               + Cintas, PO Box 631025, Cincinnati, OH 45263-1025
14877515                 CommerceHub, 25736 Network Place, Chicago, IL 60673-1257
14865187               + Crest Beverage LLC, 8870 Liquid Ct., San Diego, CA 92121-2234
14898188               + Crest Beverage, L.L.C., c/o Thomas C. Wolford, 2 North LaSalle Street, Suite 1700, Chicago, IL 60602-4000
14868839               + Dean T. Kirby, Jr., Roberta S. Robinson, KIRBY & MCGUINN, A P.C., 707 Broadway, Ste 1750, San Diego, California 92101-5393
14865189               + Demand Packaging LLC, 1607 Augusta Parkway, Henryville, IN 47126-4501
14865190                 Department Homeland Sec. USCBP, 555 Battery St., Attn: Katrina Williams, San Francisco, CA 94111-2312
14877516                 Direction pinrcipale des relat, Revenu Quebec, 3800, rue de Marly Quebec, G1X 4A5
14865191                 Elite SEM/Tinuiti, PO Box 28415, New York, NY 10087-8415
14904876                 Employment Development Department, Bankruptcy Group MIC 92E, PO BOX 826880, Sacramento, CA 95814
14892974               + Encentiv Energy Inc., 1501 Ardmore Blvd., Suite 102, Pittsburgh, PA 15221-4451
14865192               + Exfreight, 2290 - 10th Avenue, Suite 501, Lake Worth, FL 33461-6618
14865194               + FedEx, PO Box 63247, North Charleston, SC 29419-3247
14894477               + Federal Insurance Company, c/o Chubb, 436 Walnut Street - WA04K, Philadelphia, PA 19106-3703
14865195               + Flexport, 760 Market Street, 8th Floor, San Francisco, CA 94102-2300
14897866               + Fusion One Logistics, 3533 Rainsong Circle, Rancho Cordova, CA 95670-6983
14865197               + Globaltranz Enterprises, Inc., 3001 N. Main Street, Prescott Valley, AZ 86314-2293
14865198               + Home Goods, Inc - The TJX Comp, 300 Value Way, Marlborough, MA 01752-3093
14891803               + HomeGoods, Inc., Mark R. Somerstein, Ropes & Gray LLP, 1211 Avenue of the Americas, New York, NY 10036-8704
14865199                 HomeLite Technology Co., Ltd., No. 319 Jiugan Rd., Shanghai 201601 CHINA
14865200               + Intact Insurance, 605 Highway 169 North, Suite 800, Minneapolis, MN 55441-6533
14885925               + Jacqueline L. James, COX CASTLE & NICHOLSON LLP, 2029 Century Park East, 21st Floor, Los Angeles, California 90067-3007
14865201               + Jan Brandrup, PO Box 1288, Rancho Santa Fe, CA 92067-1288
14865202               + Laz Parking, PO Box 847370, Los Angeles, CA 90084-7370
14865203               + Lighting Science Group Corp, PO Box 847370, Dept. #9819, Los Angeles, CA 90084-7370
14865204                 M.H. Equipment, 4469 Solutions Center, Chicago, IL 60677-4004
14865205               + MGM Partnership, 13359 Old Winery Road, Poway, CA 92064-1034
14886146               + MH Equipment, c/o Karin Daly, 8901 N. Industrial Rd., Peoria, IL 61615-1509
14865206                 MNP, Suite 2000, 330 5 Ave. S.W., Calgary Alberta CANADA T2P OL4
14891802               + Mark R. Somerstein, Ropes & Gray LLP, 1211 Avenue of the Americas, New York, NY 10036-8704
14891874               + Massachusetts Bay Insurance, Tiffany Punch Hanover Ins, 440 Lincoln Street, Worcester, MA 01653-0002
14877518               + Massachusetts Dept. of Rev., 100 Cambridge Street, 2nd Floor, Boston, MA 02114-2509
14865207               + Noel Kean, 10018 Holborn Street, Santee, CA 92071-5008
14877519                 Non-Res. Reg. & Security-Frase, Canada Revenue Agency, 9755 King George Boulevard, Surrey BC V3T 5E1
14865208               + Oracle America Inc., 500 Oracle Parkway, Redwood City, CA 94065-1677
14865209               + Panitch Schwarze Belisario, Two Commerce Square, 2001 Market Street, Suite 2800, Philadelphia, PA 19103-7029
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14897867               + Pete Kistler, 336 W. 37th St., Suite 1200, New York, NY 10018-4282
14865211                 Philips Lighting Holding B.V., Intellectual Property, 5656 AEEindhoven, The Netherlands
14865212               + Prolift, 12001 Plantside Drive, Louisville, KY 40299-6300
14897868               + Proxima 707 LLC, 3161 Michelson Drive, Suite 900, Irvine, CA 92612-4409
14865214                 Quench USA, Inc., PO Box 781393, Philadelphia, PA 19178-1393
14865215               + Ray's Trash Services, Inc., 6251 S. Indianapolis Road, Whitestown, IN 46075-9525
14868768               + Roberta S. Robinson, KIRBY & McGUINN, APC, 707 Broadway, Suite 1750, San Diego, CA 92101-5393
14897865               + SREIT 4820 Indianapolis Drive, L.L.C., Attn: Jonathan D. Sundheimer, Barnes & Thornburg, 11 S. Meridian Street, Indianapolis, IN
                         46204-3535
14865216                 Shenzhen Guanke Technologies, A101, Bldg 34 Zialang Ind. Zon, GUANGDONG, CHINA 518106
14865217                 Shenzhen Hyperlite Lighting, Hongfa Ind. Area, Bldg. 5, 518000 Shenzhen CHINA
14865218                 Shenzhen SNC Opto Electronics, BI 6 Zhengdaan Industry Pk 172, SongGang town, CHINA
14865219                 Shenzhen Topband Co. LTD., No. 113 Dongxin Avenue, Huizhou City, CHINA
14865220                 Signify Holding B.V., License, Bldg, HTC 5, 5th Floor, 5656 AE Eindhoven Netherlands
14865221                 Sreit 8421 Bearing Drvive, LLC, PO Box 789956, Philadelphia, PA 19178-9956
14865222               + Steam Logistics, PO Box 117301, Atlanta, GA 30368-7301
14885935               + Thomas C. Wolford, NEAL, GERBER & EISENBERG LLP, Two North LaSalle Street, Suite 1700, Chicago, Illinois 60602-4000
14898187               + Thomas C. Wolford, Neal Gerber & Eisenberg LLP, 2 North LaSalle Street, Suite 1700, Chicago, IL 60602-4000
14878471               + Toyota Industries Commercial Finance, Inc., Charles S. Stahl, Jr., Swanson, Martin & Bell, LLP, 2525 Cabot Drive, Suite 204, Lisle, IL
                         60532-3628
14877521                 Toyota Material Handling Midwe, 1888 Research Way, Indianapolis, IN 46231-3356
14897689               + U.S. Customs and Border Protection, Attn: Revenue Division, Bankruptcy Team, 6650 Telecom Dr., Suite 100, Indianapolis, IN
                         46278-2010
14877522               + U.S. Small Business Admin., SBA Disaster Loan Serv Center, 1545 Hawkins Blvd., Suite 202, El Paso, TX 79925-2654
14897830               + U.S. Small Business Administration, 312 N. Spring Street, 5th Floor, t, Los Angeles, CA 90012-2678
14865224                 UL AG, 75 Remittance Drive, Ste. 1524, Chicago, IL 60675-1524
14865225                 UPS Supply Chain Solution, Inc, 28013 Network Place, Chicago, IL 60673-1280
14865227               + USA Debt Recovery Solutions, 255 W. Foothill Blvd., #205, Upland, CA 91786-3807
14865228              #+ VELOX Media, 816 W. Bannock Street, Suite 306, Boise, ID 83702-5894
14865229               + Walmart Inc., c/o Bank of America, PO Box 500787, Saint Louis, MO 63150-0787
14877524                 Washington State Dept. of Rev, P.O. Box 47476, Olympia, WA 98504-7476
14886500               + Wells Fargo Bank, N.A., 800 Walnut ST., MAC F0005-055, Des Moines, IA 50309-3605
14877525                 Wells Fargo Equipment Finance, P.O. Box 7777, San Francisco, CA 94120-7777
14897869               + Wendego Information Technology, 10620 Treena Street, Suite 230, San Diego, CA 92131-1140
14877526                 Wisconsin Department of Rev, PO Box 8901, Madison, WI 53708-8901
14895575                 Wisconsin Department of Revenue, 4-SPU Bankruptcy, PO Box 8901, Madison, WI 53708-8901
14865232                 Zhejiang Hengdian Tospo Imp., RM3/F World Trade Office Plaza, 122 Shuguang Rd Hangzhou CHINA

TOTAL: 79

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
14877513                  Email/Text: chickey@banksocal.com
                                                                                        Nov 16 2021 22:53:00      Bank of Southern California, 1620 5th Ave., Suite
                                                                                                                  120, San Diego, CA 92101
14906041               + Email/Text: USCBNotices@cdtfa.ca.gov
                                                                                        Nov 16 2021 22:53:00      California Dept. of Tax and Fee Administration,
                                                                                                                  Collections Support Bureau, MIC: 55, PO Box
                                                                                                                  942879, Sacramento, CA 94279-0001
14865193               + Email/Text: legal@fastenal.com
                                                                                        Nov 16 2021 22:53:00      Fastenal Company, Property Administration, 1801
                                                                                                                  Theurer Blvd., Winona, MN 55987-1577
14906344                  Email/Text: BKBNCNotices@ftb.ca.gov
                                                                                        Nov 16 2021 22:53:00      Franchise Tax Board, Bankruptcy Section MS
                                                                                                                  A340, PO BOX 2952, Sacramento CA
                                                                                                                  95812-2952
14878982                  Email/Text: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV
                                                                    Nov 16 2021 22:53:00                          Indiana Department of Revenue, 100 N Senate
                                                                                                                  Ave, Indianapolis, IN 46204
14877517                  Email/Text: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV
                                                                    Nov 16 2021 22:53:00                          Indiana Department of Rev, PO Box 6197,
                                                                                                                  Indianapolis, IN 46206-6197
14869827               + Email/Text: schristianson@buchalter.com
                                                                                        Nov 16 2021 22:53:00      Oracle America, Inc., c/o Shawn M. Christianson,
                                                                                                                  Esq., Buchalter PC, 55 2nd St., 17th Fl., San
                                                                                                                  Francisco, CA 94105-3493
14877520               + Email/Text: recovery@paypal.com
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                                                                                   Nov 16 2021 22:53:00     Paypal, 2211 N. First St., San Jose, CA
                                                                                                            95131-2021
14877523                 Email/Text: vci.bkcy@vwcredit.com
                                                                                   Nov 16 2021 22:53:00     Volkswagen Credit, 1401 Franklin Blvd.,
                                                                                                            Libertyville, IL 60048

TOTAL: 9


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
14885927                        2029 Century Park East, 21st Floor
14877512                        Acuity Consulting, Vasagatan 16, 111 20 Stockholm, Sweeden
14885926                        COX CASTLE & NICHOLSON LLP
14885930                        Email: jjames@coxcastle.com
14885928                        Los Angeles, California 90067
14885929                        Telephone: (310) 284-2200
14865223                        Toppo Lighting Company Limited, Building 6, Huang Rd GaoQiao, LongGang Dist. Shenzhen 518117
14865231                        Xen Uaj Dooel, Franklin Ruzvelt 7.1011, 1000 Skopje North Macedonia, Skopje, Macenonia

TOTAL: 8 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 18, 2021                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 15, 2021 at the address(es) listed
below:
Name                             Email Address
David A. Warfield
                                 on behalf of Debtor Hyperikon Inc. dwarfield@thompsoncoburn.com

Haeji Hong
                                 on behalf of United States Trustee United States Trustee Haeji.Hong@usdoj.gov
                                 USTP.Region15@usdoj.gov,tiffany.l.carroll@usdoj.gov,Abram.S.Feuerstein@usdoj.gov

Jacqueline L. James
                                 on behalf of Creditor Creditor Crest Beverage jjames@coxcastle.com

Jeffrey N Brown
                                 on behalf of Debtor Hyperikon Inc. jbrown@thompsoncoburn.com

Jonathan Boustani
                                 on behalf of Creditor SREIT 4820 Indianapolis Drive L.L.C. jboustani@btlaw.com

Leonard J. Ackerman
                                 ljabkatty@gmail.com lja@trustesolutions.net

Roberta S. Robinson
                                 on behalf of Trustee Leonard J. Ackerman RRobinson@kirbymac.com jwilson@kirbymac.com;dkirby@kirbymac.com

Shawn Christianson
                                 on behalf of Creditor Oracle America Inc. schristianson@buchalter.com, cmcintire@buchalter.com
        Case 21-01776-LT7           Filed 11/16/21     Entered 11/18/21 21:09:12   Doc 145   Pg. 6 of 6

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United States Trustee
                          ustp.region15@usdoj.gov


TOTAL: 9
